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 5

 6 Attorneys for Plaintiff

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:12-CR-000310 AWI BAM
12                                  Plaintiff,             STIPULATION TO CONTINUE STATUS
                                                           HEARING; EXCLUDABLE TIME PERIODS
13   v.                                                    UNDER SPEEDY TRIAL ACT; FINDINGS
                                                           AND ORDER
14   JUAN MANUEL RODRIGUEZ, et al.,
15                                  Defendants,
16

17           Plaintiff United States of America, by and through its counsel of record BENJAMIN B.

18 WAGNER, United States Attorney and LAUREL J. MONTOYA, Assistant U.S. Attorney, and

19 defendants by and through their undersigned counsel of record hereby stipulate as follows:
20           1.     By previous order, this matter was set for status hearing April 27, 2015 at 1:00 p.m.

21           2.     By this stipulation, government moves to continue the status hearing to June 8, 2015,

22 or at a time convenient to the court, and to exclude time under 18 U.S.C.§ 3161(h)(a), (B)(iv).

23 Defense counsel does not oppose this request.

24           3.     The parties agree and stipulate, and request that the Court find the following:

25                  a.       The parties have been actively engaged in plea negotiations and are very close to

26 an agreement that will eliminate the need for trial. While a few details need to be resolved, the parties

27 anticipate that an agreement will be reached. The attorney for the government has suffered a serious

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 1 personal loss, which will complicate efforts to finalize the negotiations. It is requested that the current

 2 status conference date be vacated to allow the negotiations to conclude.

 3                   b.      The parties have agreed to continue the date for the status conference to June

 4           8, 2015;

 5                   c.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

 6           3161, et seq., within which trial must commence, the time period of April 24, 2015, and June

 7           8, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(a), (B)(iv) because

 8           it results from a continuance granted by the Court at the parties request on the basis of the

 9           Court’s finding that the ends of justice served by taking such action outweigh the best

10           interest of the public and the defendant in a speedy trial.

11           4.      Nothing in this stipulation and order shall preclude a finding that other provisions of

12 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

13 a trial must commence.

14           IT IS SO STIPULATED.

15 DATED: April 24, 2015                                     /s/ Laurel J. Montoya
                                                             LAUREL J. MONTOYA
16                                                           Assistant United States Attorney
17 DATED: April 24, 2015                                     /s/ Patrick Q. Hall
                                                             PATRICK Q. HALL
18                                                           Attorney for Juan Manuel Rodriguez
19 DATED: April 24, 2015                                     /s/ Carol Ann Moses
                                                             CAROL ANN MOSES
20                                                           Attorney for Miguel Angel Rodriguez
21 DATE: April 24, 2015                                      /s/ Yan Shrayberman
                                                             YAN SHRAYBERMAN
22                                                           Attorney for Jose Carlos Flores-Rodriguez
23 DATE: April 24, 2015                                      /s/ Anthony P. Capozzi
                                                             ANTHONY P. CAPOZZI
24                                                           Attorney for Carlos Armando Luna
25 DATE: April 24, 2015                                      /s/ Patrick Q. Hall for Dale Blickenstaff
                                                             DALE BLICKENSTAFF
26                                                           Attorney for Marisol Rodriguez
27 DATE: April 24, 2015                                      /s/ David A. Torres
                                                             DAVID A. TORRES
28                                                           Attorney for Miguel Malagon-Alejandrez
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     DATE: April 24, 2015                             /s/ Richard A. Beshwate, Jr.
 1                                                    RICHARD A. BESHWATE, Jr.
                                                      Attorney FOR Travis John Dodd
 2
     DATE: April 24, 2015                             /s/ Daniel L. Harralson
 3                                                    DANIEL L. HARRALSON
                                                      Attorney for Edgardo Torres
 4
     DATE: April 24, 2015                             /s/ Mark A. Broughton
 5                                                    MARK A. BROUGHTON
                                                      Attorney for Wesley Carlos
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 7

 8                                               ORDER

 9         IT IS SO FOUND AND ORDERED that the 13th STATUS CONFERENCE is continued

10 from April 27, 2015 to June 8, 2015 at 1:00 p.m. before Judge McAuliffe. Time is excluded

11 pursuant to 18 U.S.C.§ 3161(h)(a), (B)(iv).

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13 IT IS SO ORDERED.

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        Dated:    April 24, 2015                         /s/ Barbara A. McAuliffe              _
15                                                 UNITED STATES MAGISTRATE JUDGE
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